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10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
13
14
      JENNY LISETTE FLORES., et al.,            Case No. CV 85-4544-DMG-AGRx
15
16                   Plaintiffs,                JOINT MOTION FOR
                                                PRELIMINARY APPROVAL OF
17          v.                                  SETTLEMENT AND APPROVAL
18                                              OF CLASS NOTICE OF
      MERRICK B. GARLAND, Attorney
                                                SETTLEMENT
19    General of the United States, et al.,
20                                              Hearing: To be set by the Court
                     Defendants.
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22                                              HON. DOLLY M. GEE
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                                                         JOINT MOTION FOR PRELIMINARY
                                                              APPROVAL OF SETTLEMENT
                                                                  CV 85-4544-DMG-AGRX
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 1         On August 9, 2021, Plaintiffs filed a Motion to Enforce Settlement re
 2   Emergency Intake Sites (“Motion to Enforce”). [Doc. # 1161].
 3          Plaintiffs’ Motion to Enforce primarily sought injunctive relief requiring that
 4   Defendants release class members detained at Emergency Intake Sites (EISs) to
 5   qualified custodians without unnecessary delay, place all minors in a licensed
 6   program as expeditiously as possible, transfer particularly vulnerable children out of
 7   the Fort Bliss EIS and the Pecos EIS, adopt mandatory standards to ensure that EISs
 8   comply with the Office of Refugee Resettlement’s standards for influx care facilities,
 9   and provide class members with continuous case management. See Proposed Order
10   Enforcing Settlement [Doc. # 1161-3]; Plaintiffs’ Motion to Enforce [Doc. # 1161].
11         On August 20, 2021, this Court entered a stipulation between the parties to
12   continue the hearing on Plaintiffs’ Motion to Enforce so that the parties could engage
13   in settlement negotiations. [Doc. # 1168].
14         Thereafter, the parties engaged in numerous meetings attended by the Special
15   Master/Independent Monitor and Dr. Paul Wise, counsel representing Plaintiffs and
16   Defendants, and operational and legal staff from the U. S. Department of Health and
17   Human Services, Office of Refugee Resettlement.
18         The parties have now reached a settlement agreement (“Agreement”) to
19   resolve Plaintiffs’ Motion to Enforce. See Exhibit 1 filed herewith. The parties are
20   submitting this joint motion for preliminary approval of the Agreement, along with
21   a proposed class notice to inform Flores class members of the proposed Agreement.
22   See Exhibit 2 filed herewith. This motion is submitted without a hearing date so the
23   Court may, in its discretion, decide whether it wishes to conduct a hearing to address
24   preliminary approval of the Agreement.
25         As detailed in the Agreement, the parties have agreed on standards Defendants
26   will meet while operating Emergency Intake Sites. For example, the Agreement
27   requires, in part, that Emergency Intake Sites provide suitable living
28   accommodations, access to daily outdoor activity, private phone calls at least twice
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                                                                JOINT MOTION FOR PRELIMINARY
                                                                    APPROVAL OF SETTLEMENT
                                                                        CV 85-4544-DMG-AGRX
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 1   a week for at least ten minutes in length, family reunification services, appropriate
 2   mental health interventions, educational services, legal services information, and
 3   structured leisure time activities. The Agreement generally prohibits the placement
 4   of particularly vulnerable children in Emergency Intake Sites, absent extraordinary
 5   circumstances. Additionally, the Agreement requires specific case management
 6   services such as an initial assessment by a case manager within 24 hours of a minor’s
 7   admission to the facility and weekly meetings with case managers.
 8         Consistent with Federal Rule of Civil Procedure 23(e), the parties submit the
 9   following joint proposal for providing notice of the Agreement to Flores class
10   members:
11         The proposed Class Notice is attached as Exhibit 2. Within five (5) days of an
12   Order from this Court approving the attached Notice, Plaintiffs shall provide to
13   Defendants a copy of the approved Notice in English and Spanish. Within twenty
14   (20) days of the date of the Order, Defendants shall post copies of the approved
15   Notice in English and Spanish on ORR’s web site. Defendants shall notify Plaintiffs’
16   counsel in writing when the Notices have been posted and will provide a link to the
17   posted Notice. Plaintiffs may also post the Notice in English and Spanish on Class
18   Counsel’s public web site. The notice period shall be thirty (30) days in duration.1
19         Fifty (50) days after the date of the Order, Plaintiffs’ counsel shall file and
20   serve any objections received, redacted as appropriate, or notify the Court that no
21   objections have been received.
22         Sixty (60) days after the date of the Order, Plaintiffs and Defendants shall file
23   a joint report regarding any objections received from class members during the
24   period for the submission of objections. The parties’ joint submission will include a
25
26   1
       If ORR opens an EIS facility during the 30-day Notice period then Defendants
27   will post the Notice at that facility in a place where class members can view the
28   Notice, and will promptly notify Plaintiffs of such posting including the location of
     the posting within the facility.
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                                                                JOINT MOTION FOR PRELIMINARY
                                                                     APPROVAL OF SETTLEMENT
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 1   proposed schedule for final approval of the Agreement as well as a proposed order
 2   approving the Agreement and dismissing with prejudice Plaintiffs’ Motion to
 3   Enforce [Doc. # 1161].
 4         A proposed order is being filed herewith.
 5
 6   Dated June 22, 2022:                 Respectfully submitted,

 7
                                            /s/ Mishan Wroe
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 9                                        Carlos R. Holguín
                                          CENTER FOR HUMAN RIGHTS AND
10                                        CONSTITUTIONAL LAW
11
                                          NATIONAL CENTER FOR YOUTH LAW
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                                          Neha Desai
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16                                        CHILDREN’S RIGHTS
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                                          Attorneys for Plaintiffs
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19                                          /s/ Sarah B. Fabian
                                          SARAH B. FABIAN
20                                        Senior Litigation Counsel
21                                        U.S. Department of Justice
                                          Office of Immigration Litigation
22                                        Attorneys for Defendants
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                                                              JOINT MOTION FOR PRELIMINARY
                                                                  APPROVAL OF SETTLEMENT
                                                                      CV 85-4544-DMG-AGRX
